                          Case 3:21-cv-02623-EMC Document 63 Filed 07/14/21 Page 1 of 7



                1    COOLEY LLP
                     JOHN C. DWYER (136533)
                2    (dwyerjc@cooley.com)
                     JESSICA VALENZUELA SANTAMARIA (220934)
                3    (jvs@cooley.com)
                     TIJANA BRIEN (286590)
                4    (tbrien@cooley.com)
                     3175 Hanover Street
                5    Palo Alto, CA 94304-1130
                     Telephone: (650) 843-5000
                6    Facsimile: (650) 849-7400

                7    Attorneys for Defendant
                     FibroGen, Inc.
                8

                9                                   UNITED STATES DISTRICT COURT

           10                                      NORTHERN DISTRICT OF CALIFORNIA

           11                                          SAN FRANCISCO DIVISION

           12

           13        PEIFA XU, Individually and on Behalf of All   Case No.: 3:21-cv-02623-EMC
                     Others Similarly Situated,
           14                                                      CLASS ACTION
                                      Plaintiff,
           15                                                      JOINT STIPULATION AND [PROPOSED]
                            v.                                     SCHEDULING ORDER
           16
                     FIBROGEN, INC., ENRIQUE CONTERNO,             Date:    Thursday, July 22, 2021
           17        JAMES SCHOENECK, and K. PEONY YU,             Time:    1:30 p.m.
                                                                   Place:   Courtroom 5, 17th Floor
           18                         Defendants.                  Judge:   Hon. Edward M. Chen
           19
                     ROBERT GUTMAN, Individually and on            Case No.: 4:21-cv-02725-YGR
           20        Behalf of All Others Similarly Situated,
           21                         Plaintiff,
           22               v.
           23        FIBROGEN, INC., ENRIQUE CONTERNO,
                     and JAMES SCHOENECK,
           24
                                      Defendants.
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  COOLEY LLP
ATTO RNEY S AT LAW                                                                        JOINT STIPULATION AND
   PALO AL TO                                                                      [PROPOSED] SCHEDULING ORDER
                          Case 3:21-cv-02623-EMC Document 63 Filed 07/14/21 Page 2 of 7



                1    CESARE GRAZIOLI, Individually and on               Case No.: 3:21-cv-03212-CRB
                     Behalf of All Others Similarly Situated,
                2
                                       Plaintiff,
                3
                            v.
                4
                     FIBROGEN, INC., ENRIQUE CONTERNO,
                5    JAMES SCHOENECK, and K. PEONY YU,
                6                      Defendants.
                7
                     IBEW LOCAL 353 PENSION PLAN, on                    Case No.: 3:21-cv-03396-EJD
                8    Behalf of Itself and All Others Similarly
                     Situated,
                9
                                       Plaintiff,
           10
                            v.
           11
                     FIBROGEN, INC., ENRIQUE CONTERNO,
           12        JAMES A. SCHOENECK, and K. PEONY
                     YU,
           13
                                       Defendants.
           14

           15        THOMAS LEONARD, Individually and on                Case No.: 3:21-cv-03370-EMC
                     Behalf of All Others Similarly Situated,
           16
                                       Plaintiff,
           17
                            v.
           18
                     FIBROGEN, INC., ENRIQUE CONTERNO,
           19        JAMES SCHOENECK, and K. PEONY YU,
           20                          Defendants.
           21

           22               This stipulation is entered into between Lead Plaintiff Movant Employees’ Retirement System
           23        of the City of Baltimore, City of Philadelphia Board of Pensions and Retirement, and Plymouth County
           24        Retirement Association (the “Retirement Systems”), Lead Plaintiff Movant Vincente Sepulveda
           25        (“Sepulveda”), Lead Plaintiff Movant Stefano Branca and Giuliana Mollo (“Branca and Mollo”), and
           26        Defendants FibroGen, Inc. (“FibroGen” or the “Company”) (collectively with the Retirement Systems,
           27        Sepulveda, and Branca and Mollo, the “Parties”).
           28
  COOLEY LLP
                                                                                                 JOINT STIPULATION AND
ATTO RNEY S AT LAW
   PALO AL TO
                                                                    1                     [PROPOSED] SCHEDULING ORDER
                           Case 3:21-cv-02623-EMC Document 63 Filed 07/14/21 Page 3 of 7



                1            WHEREAS, on April 12, 2021, plaintiff Peifa Xu (“Plaintiff”) commenced the

                2    above-captioned putative securities class action, Case No. 3:21-cv-02623 (“Xu Action”), against

                3    defendants FibroGen, Inc., Enrique Conterno (“Conterno”), James Schoeneck (“Schoeneck”), and

                4    Peony Yu (“Yu”), asserting claims under the Securities Exchange Act of 1934 (“Exchange Act”);

                5            WHEREAS, additional lawsuits were filed thereafter asserting claims under the Exchange Act,

                6    including Robert Gutman v. Fibrogen Inc., et al, No. 4:21-cv-02725 (“Gutman Action”), Grazioli v.

                7    Fibrogen Inc., et al, No. 3:21-cv-03212, IBEW Local 353 Pension Plan v. FibroGen, Inc., et al, No.

                8    3:21-cv-03396, and Leonard v. Fibrogen, Inc., et al, No. 3:21-cv-03370;

                9            WHEREAS, the Private Securities Litigation Reform Act of 1995 (“PSLRA”) dictates

           10        procedures for the administration of federal securities class actions (see 15 U.S.C. § 78u-4), including

           11        the appointment of a lead plaintiff to act on behalf of the asserted class (see id. at § 78u-4 (a)(3)(B)(ii));

           12                WHEREAS, Plaintiff Xu published notice of this action to the putative class on April 12, 2021

           13        as required by the PSLRA;WHEREAS, on April 16, 2021, the Initial Case Management Conference

           14        in the Xu Action was scheduled for July 15, 2021 at 9:30 a.m.;

           15                WHEREAS, on April 16, 2021, plaintiff Xu served FibroGen copies of the Complaint,

           16        Summons and related documents in the Xu Action;

           17                WHEREAS, FibroGen was not served in any of the other lawsuits and none of the individual

           18        defendants have been served in any of the actions;

           19                WHEREAS, on May 5, 2021, Plaintiff Xu and FibroGen stipulated that FibroGen is not

           20        required to respond to the complaint in this action or in any action consolidated with this action until

           21        after the Court has designated a Lead Plaintiff and approved Lead Plaintiff’s selection of Lead Counsel

           22        (ECF No. 14);

           23                WHEREAS, motions for the consolidation of related actions and for appointment of a lead

           24        plaintiff and lead counsel pursuant to the PSLRA were filed with the Court on June 11, 2021 by the

           25        Retirement Systems, Sepulveda, Branca and Mollo, Brett Richard (“Richard”), and Thomas Leonard

           26        (“Leonard”);

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  COOLEY LLP
                                                                                                        JOINT STIPULATION AND
ATTO RNEY S AT LAW
   PALO AL TO
                                                                         2                       [PROPOSED] SCHEDULING ORDER
                          Case 3:21-cv-02623-EMC Document 63 Filed 07/14/21 Page 4 of 7



                1           WHEREAS, on June 14, 2021, the Gutman action was voluntarily dismissed without prejudice;

                2           WHEREAS, also on June 14, 2021, Richard filed a notice of withdrawal of his motion to

                3    consolidate related actions and for appointment of lead plaintiff and lead counsel, and Leonard filed a

                4    notice of non-opposition to competing motions for consolidation of related actions and appointment

                5    of a lead plaintiff and lead counsel on June 25, 2021, leaving the Retirement Systems, Sepulveda, and

                6    Branca and Mollo as the remaining Lead Plaintiff movants;

                7           WHEREAS, on July 6, 2021, the Clerk entered a notice rescheduling the Initial Case

                8    Management Conference from July 15, 2021 to July 22, 2021 at 1:30 p.m;

                9           WHEREAS, the pending motions for consolidation are unopposed;

           10               WHEREAS, because Lead Plaintiff and Lead Counsel in the Action have not yet been

           11        appointed by the Court, it is unclear at this time who will ultimately act on behalf of the asserted class

           12        as well as whether the Court-appointed Lead Plaintiff will file a consolidated complaint or stand on

           13        the existing Complaint filed in the Action;

           14               NOW THEREFORE, the Parties, by and through their undersigned counsel, agree and stipulate

           15        to the following:

           16               1.      The Initial Case Management Conference scheduled for July 22, 2021 and any related

           17        deadlines are vacated and shall be rescheduled, if necessary, following the Court’s ruling on any of

           18        Defendants’ anticipated motion(s) to dismiss the consolidated complaint designated by the court-

           19        appointed lead plaintiff, on dates to be selected by the Court;

           20               2.      Within twenty-one (21) days after the Court appoints the Lead Plaintiff and Lead

           21        Counsel in the Action, the Lead Plaintiff and Defendants will submit to the Court a proposed schedule

           22        for: (i) Lead Plaintiff’s filing of a consolidated complaint or designating the previously filed Complaint

           23        as operative; and (ii) Defendants’ time to answer or otherwise respond to the operative complaint.

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  COOLEY LLP
                                                                                                      JOINT STIPULATION AND
ATTO RNEY S AT LAW
   PALO AL TO
                                                                       3                       [PROPOSED] SCHEDULING ORDER
                          Case 3:21-cv-02623-EMC Document 63 Filed 07/14/21 Page 5 of 7



                1          IT IS SO STIPULATED.

                2    Dated: July 14, 2021                COOLEY LLP
                                                         JOHN C. DWYER (136533)
                3                                        JESSICA VALENZUELA SANTAMARIA
                                                         (220934)
                4                                        TIJANA M. BRIEN (286590)
                5

                6                                        /s/ Jessica Valenzuela Santamaria
                                                         Jessica Valenzuela Santamaria (220934)
                7
                                                         Attorneys for Defendant
                8                                        FibroGen Inc.
                9
                     Dated: July 14, 2021                HAGENS BERMAN SOBOL SHAPIRO LLP
           10

           11
                                                         /s/ Reed R. Kathrein
           12                                            Reed R. Kathrein (139304)
                                                         Lucas E. Gilmore (250893)
           13                                            Danielle Smith (291237)
                                                         Wesley A. Wong (314652)
           14                                            715 Hearst Ave., Suite 202
                                                         Berkeley, CA 94710
           15                                            Telephone: (510) 725-3000
                                                         Facsimile: (510) 725-3001
           16                                            reed@hbsslaw.com
                                                         lucasg@hbsslaw.com
           17                                            danielles@hbsslaw.com
                                                         wesleyw@hbsslaw.com
           18
                                                         Steve W. Berman (pro hac vice forthcoming)
           19                                            HAGENS BERMAN SOBOL SHAPIRO LLP
                                                         1301 Second Avenue, Suite 2000
           20                                            Seattle, WA 98101
                                                         Telephone: (206) 623-7292
           21                                            Facsimile: (206) 623-0594
                                                         steve@hbsslaw.com
           22
                                                         Attorneys for Vicente Sepulveda
           23

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  COOLEY LLP
                                                                                          JOINT STIPULATION AND
ATTO RNEY S AT LAW
   PALO AL TO
                                                           4                       [PROPOSED] SCHEDULING ORDER
                          Case 3:21-cv-02623-EMC Document 63 Filed 07/14/21 Page 6 of 7



                1    Dated: July 14, 2021                SAXENA WHITE P.A.

                2

                3                                        /s/ David R. Kaplan
                                                         David R. Kaplan (SBN 230144)
                4                                        dkaplan@saxenawhite.com
                                                         12750 High Bluff Drive, Suite 475
                5                                        San Diego, California 92130
                                                         Telephone: (858) 997-0860
                6                                        Facsimile: (858) 369-0096
                7                                        Maya Saxena (pro hac vice)
                                                         msaxena@saxenawhite.com
                8                                        7777 Glades Road, Suite 300
                                                         Boca Raton, Florida 33434
                9                                        Telephone: (561) 394-3399
                                                         Facsimile: (561) 394-3382
           10
                                                         Steven B. Singer
           11                                            Rachel A. Avan
                                                         ssinger@saxenawhite.com
           12                                            ravan@saxenawhite.com
                                                         10 Bank Street, 8th Floor
           13                                            White Plains, New York 10606
                                                         Telephone: (914) 437-8551
           14                                            Facsimile: (888) 216-2220
           15
                                                         Attorneys for Employees’ Retirement System of the
           16                                            City of Baltimore, City of Philadelphia Board of
                                                         Pensions and Retirement, and Plymouth County
           17                                            Retirement Association, and Proposed Lead
                                                         Counsel for the Class
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  COOLEY LLP
                                                                                       JOINT STIPULATION AND
ATTO RNEY S AT LAW
   PALO AL TO
                                                           5                    [PROPOSED] SCHEDULING ORDER
                          Case 3:21-cv-02623-EMC Document 63 Filed 07/14/21 Page 7 of 7



                1    Dated: July 14, 2021                             SCOTT+SCOTT ATTORNEYS AT LAW LLP

                2

                3
                                                                      /s/ John T. Jasnoch
                4                                                     John T. Jasnoch (CA 281605)
                                                                      600 W. Broadway, Suite 3300
                5                                                     San Diego, CA 92101
                                                                      Telephone: 619-233-4565
                6                                                     Facsimile: 619-233-0508
                                                                      jjasnoch@scott-scott.com
                7
                                                                      SCOTT+SCOTT ATTORNEYS AT LAW LLP
                8                                                     Thomas L. Laughlin, IV (pro hac vice
                                                                      forthcoming)
                9                                                     Rhiana L. Swartz
                                                                      The Helmsley Building
           10                                                         230 Park Avenue, 17th Floor
                                                                      New York, NY 10169
           11                                                         Telephone: 212-233-6444
                                                                      Facsimile: 212-233-6334
           12                                                         tlaughlin@scott-scott.com
                                                                      rswartz@scott-scott.com
           13
                                                                      Attorneys for Branca and Mollo
           14

           15
                                                               *            *       *
           16

           17                                                         ORDER

           18
                            IT IS SO ORDERED.
           19                                                                   _____________________________________
                             July 14, 2021
                     DATED: __________________________                          THE HONORABLE EDWARD M. CHEN
           20                                                                   UNITED STATES DISTRICT JUDGE
           21

           22

           23                                  ATTESTATION PURSUANT TO CIV. L.R. 5-1(i)(3)

           24               Pursuant to Civil Local Rule 5-1(i)(3), I attest that concurrence in the filing of this document

           25        has been obtained from the other signatories.

           26
                     Dated: July 14, 2021                            /s/ Jessica Valenzuela Santamaria
           27                                                        Jessica Valenzuela Santamaria
           28
  COOLEY LLP
                                                                                                     JOINT STIPULATION AND
ATTO RNEY S AT LAW
   PALO AL TO
                                                                        6                     [PROPOSED] SCHEDULING ORDER
